                 Case 2:12-cr-00169-TLN Document 68 Filed 06/05/12 Page 1 of 2


1    HAYDN-MYER LAW CORPORATION
     Christopher Haydn-Myer, Bar #176333
2    1478 Stone Point Drive, Suite 400
     Sacramento, California 95661
3    Telephone: (916) 622-1703
     Fax: (916) 443-5084
4    email:chrishaydn@sbcglobal.net
5    Attorney for Defendant
     Eileen Knight
6
7                                   IN THE UNITED STATES DISTRICT COURT
8                                FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                        )   NO. CR S-12-0169 MCE
10                                                    )
                            Plaintiff,                )   APPLICATION FOR TRANSPORTATION
11                                                    )   ORDER; ORDER FOR TRANSPORTATION
            v.                                        )
12                                                    )   PURSUANT TO 18 U.S.C. 4285
     EILEEN KNIGHT,                                   )
13                                                    )
                                                      )
14                     Defendant.                     )
     _______________________________
15
16
     Procedural History
17
            In this matter, defendant Eileen Knight is scheduled for a hearing on June 7th, 2012 at 9:00 a.m. for
18   an initial appearance before the Honorable Morrison C. England, Jr.. Ms. Knight initially appeared before
19   the United States District Court of the Central District of California on the same indictment that is before
20   this Court. The case was transferred to the Eastern District of California, and Ms. Knight’s attorney, Pedro
21   V. Castillo, DFPD, requested that the Magistrate Judge order that the United States Marshal’s Office
22   provide Ms. Knight with non-custodial transportation to appear before this Court, and the Magistrate Judge
23   agreed. However, a request for transportation back to Los Angeles, after the hearing before this Court on
24   June 7th, has not been established. Ms. Knight is indigent.
25   Application
26          Application is hereby made for an Order for Transportation and subsistence for defendant Eileen

27   Knight to enable her to return to Los Angeles after her hearing in the above-referenced matter scheduled for

28   June 7th, 2012 at 9:00 a.m. before the Honorable Morrison C. England, Jr.
                Case 2:12-cr-00169-TLN Document 68 Filed 06/05/12 Page 2 of 2


1
             Ms. Knight has advised counsel that she is unable to afford travel and is requesting that
2
     transportation be arranged for her one-way travel from Sacramento, California to Los Angeles on June 7,
3
     2012.
4       Wherefore, in the interests of justice, the Court is requested to arrange for Ms. Knight’s means of
5    noncustodial transportation or furnish the fare for such transportation from where her appearance is
6    required; and, in addition, to direct the United States Marshal to furnish Ms. Knight with an amount of
7    money for subsistence expenses, not to exceed the amount authorized as a per diem allowance for travel
8    under Section 5702(a) of Title 5, United States Code, and pursuant to 18 U.S.C. Section 4285.
9    Dated: June 4, 2012                                  Respectfully submitted,
10                                                        /s/ Christopher Haydn-Myer
                                                          CHRISTOPHER HAYDN-MYER
11                                                        Attorney for Eileen Knight

12
                                                       ORDER
13
             TO: UNITED STATES MARSHAL, EASTERN DISTRICT OF CALIFORNIA. GOOD CAUSE
14
     APPEARING, AND IN THE INTERESTS OF JUSTICE, IT IS ORDERED THAT:
15
             The United States Marshal for the Eastern District of California is authorized and directed to furnish
16   the above-named defendant, Eileen Knight, with one-way transportation from Sacramento, California to
17   Los Angeles, California on June 7, 2012, and subsistence not to exceed the amount authorized as a per
18   diem allowance for travel under Section 5702(a) of Title 5, United States Code.
19           Ms. Knight is indigent and financially unable to travel to Sacramento, California and return to Los
20   Angeles, California without transportation expenses. This request is authorized pursuant to 18 U.S.C.
21   Section 4285.
22           IT IS SO ORDERED.
23    Dated: June 5, 2012

24
                                                        _____________________________
25
                                                        MORRISON C. ENGLAND, JR.
26                                                      UNITED STATES DISTRICT JUDGE

27
28                                                         2
